             Case 4:21-cv-00953-ALM-KPJ Document 1-1 Filed 12/02/21 Page 1 of 2 PageID #: 71
IS 44 (Rev 04/21) CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
            Zia Shaikh                                                                                       Allen City Council, et al.

     (b)   County of Residence of First Listed Plaintiff 07728                                              County of Residence of First Listed Defendant
                                  (EXCEPTIN U.S. PLAINTIFF CASES)                                                              (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

     (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Atto eys (If Know )

            Zia Shaikh ( Pro Se ), 200 Village Ctr Dr Unit 7381
            Freehold, 07728, Monmouth County, New Jersey
IL    BASIS OF JURISDIC ION (Place an X" in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place "X" inom Box for Plaintiff
                                                                                                         (For Diversity Ca es Only)                                   and One Box for Defendant)
        U.S. Government               [~x~|3 Federal Question                                                                       PTE     DEF                                            PTF       DEF
           Plaintiff                           (U.S. Government Not a Party)                       Citizen of This State                        1   Incorporated or Principal Place              4    4
                                                                                                                                                      of Business In This State

       U.S. Government                   4 Diversity                                               Citizen of Another State           2         2   Incorporated and Principal Place             5    s
          Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                   Citizen or Subject of a            3         3   Foreign Nation                               6    6
                                                                                                      Foreign Country
TV. NATURE OF SUIT                          an X" in One Box                                                                          Click here for: Nature of S lit Code Descriptions.
            CONTRACT                                            TORTS                                FORFEITURE/PENALTY                      BANKRUPTCY                 OTHER STATUTES |
    110 Insurance
    120 Marine
                                        PERSONAL INJURY
                                       310 Airplane
                                                                        PERSONAL INJURY
                                                                      1 365 Personal Injury -
                                                                                                     1625 Drug Related Seizure
                                                                                                           of Property 21 USC 881
                                                                                                                                      E
                                                                                                                                      i
                                                                                                                                        422 Appeal 28 USC 158
                                                                                                                                          423 Withdrawal
                                                                                                                                                                           375 False Claims Act
                                                                                                                                                                           376 Qui Tam (31 USC
    130 Miller Act                     315 Airplane Product                Product Liability         | 690 Other                              28 USC 157                        3729(a))
    140 Negotiable Instrument               Liability                 | 367 Health Care/                                                    INTELLECTUAL                   400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                  410 Antitrust
       & Enforcement of Judgment            Slander                         Personal Injury                                           r   820 Copyrights                   430 Banks and Banking
c   151 Medicare Act                  | 330 Federal Employers’              Product Liability                                             830 Patent                       450 Commerce
r   152 Recovery of Defaulted
        Student Loans
                                            Liability
                                       340 Marine
                                                                      | 368 Asbestos Personal
                                                                            Injury Product
                                                                                                                                          835 Patent - Abbreviated         460 Deportation
                                                                                                                                                                           470 Racketeer Influenced and
                                                                                                                                              New Drug Application
        (Excludes Veterans)            345 Marine Product               Liability                                                         840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment
       of Veteran s Benefits
                                            Liability
                                       350 Motor Vehicle
                                                                    PERSONAL PROPERTY
                                                                        370 Other Fraud
                                                                                                               LABOR
                                                                                                    ] 710 Fair Labor Standards
                                                                                                                                      n                                    480 Consumer Credit
                                                                                                                                                                               (15 USC 1681 or 1692)
                                                                                                                                              Act of 2016
    160 Stockholders Suits             355 Motor Vehicle                371 Truth in Lending              Act                                                              485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal        _| 720 Labor/Management                 SOCIAL SECURITY                      Protection Act
    195 Contract Product Liability    | 360 Other Personal                Property Damage                 Relations                       861 HIA (139511)                 490 Cable/Sat TV
    196 Franchise                           Injury                   1 385 Property Dama e           1740 Railway Labor Act               862 Black Lung (923)             850 Securities/Commodities/
                                      1 362 Personal Injury -             Product Liability       _| 751 Family and Medical               863 DIWC/DIWW (405(g))               Exchange
                                            Medical Malpractice                                           Leave Act                       864 SSID Title XVI               890 Other Statutory Actions
        REAL PROPERTY                    CIVIL RIGHTS               PRISONER PETITIONS              1790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation            X 440 Other Civil Rights           Habeas Corpus:              1791 Employee Retirement                                               893 Environmental Matters
    220 Foreclosure                    441 Voting                   -   463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment         442 Employment                   510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                  443 Housing/                         Sentence                                                          or Defendant)                896 Arbitration
    245 Tort Product Liability             Accommodations               530 General                                                   c   871 IRS Third Party              899 Administrative Procedure
    290 All Other Real Property        445 Amer. w/Disabilities -       535 Death Penalty                 IMMIGRATION                          26 USC 7609                    Act/Review or Appeal of
                                          Employment                    Other:                      1462 Naturalization Application                                           Agency Decision
                                       446 Amer. w/Disabilities -       540 Mandamus & Other        1465 Other Immigration                                                 950 Constitutionality of
                                          Other                         550 Civil Rights                Actions                                                               State Statutes
                                      1 448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an X" in One Box Only)
    1 Original [pj2 Removed from Remanded from Qd Reinstated or 5 Transferred from pp| 6 Multidistrict                                                                          Q 8 Multidistrict
       Proceeding State Court Appellate Court Reopened Another District Litigation -      Litigation -
                                                                             Transfer Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity)'.
                                         ACTIONABLE PURSUANT TO 42 U.S.C. §1983
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Constitutional, Civil Rights and RICO Violations
VII. REQUESTED IN                            CHEC IF THIS IS A CLASS ACTION                          DEMAND S                                   CHECK YES only if demanded in complaint:
      COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND: EjYcs ONo
VIII. RELATED CASE(S)
           TIP         IV V ( ee instructions):
                   Y           JUDGE                                                                                                      DOCKET NUMBER
DATE                                                                                               EY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                       AMOUNT                                   APPLYING IFP                                    JUDGE                             MAG. JUDGE
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JS 44 Reverse (Rev. 04/21)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiatin the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff an defendant. If the plaintiff or defendant is a gove ment agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agenc and then
         the official, giving both name and title.
   (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c) Attorneys. Enter the firm name, address, telephone number, and atto ey of record. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take prece ence over diversity
        cases.)


III. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V. Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filin date.
        Transfer ed from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same disb ict as the Master MDL docket.
        PLEASE NOTE I H AT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statute.

VI. Cause of Action. Report the civil statute directly related to the cause of action and ive a brief description of the cause. Do not cite jurisdictional
       statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unautho ized reception of cable service.

VII. Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
       Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
